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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                 §
                                                       §
ERIN ENERGY CORPORATION, et al.,1                      §                  Case No. 18-32106
                                                       §
         Debtors.                                      §                  (Chapter 11)
                                                       §
                                                       §         (Jointly Administered)


    ORDER ON DEBTORS’ EMERGENCY MOTION PURSUANT TO SECTIONS 105(a)
      AND 362 OF THE BANKRUPTCY CODE HOLDING ZENITH BANK PLC IN
              CONTEMPT FOR VIOLATING THE AUTOMATIC STAY

         Upon consideration of the Debtors’ Emergency Motion For the Entry of an Order

Pursuant to Sections 105(a) and 362 of the Bankruptcy Code Holding Zenith Bank PLC in

Contempt for Violating the Automatic Stay (the “Motion”),2 filed by the above-captioned

debtors and debtors in possession (the “Debtors”), the Court finds that: (i) it has jurisdiction

over the matters raised in the Motion pursuant to 28 U.S.C. § 1334(b); (ii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b); (iii) the relief requested in the Motion is in the best

interests of the Debtors and their respective estates, creditors, and other parties-in-interest; (iv)

proper and adequate notice of the Motion and hearing on the Motion has been given and that no

other or further notice is necessary under the circumstances; (v) the relief granted in this Order is

necessary to avoid immediate and irreparable harm to these estates; and (vi) good and sufficient

cause exists for the granting of the relief requested in the Motion after having given due




1
  The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
2
  Capitalized terms used but not otherwise defined in this Order have the meanings ascribed to such terms in the
Motion.
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deliberation upon the Motion and all of the proceedings had before the Court in connection with

the Motion. Therefore, it is hereby

          ORDERED that this Court has personal jurisdiction over Zenith Bank PLC; and it is

further

          ORDERED that Zenith Bank PLC shall immediately withdraw their Appointment of

Receiver/Manager of Erin Petroleum Nigeria Limited and immediately withdraw their

Application to Set Aside Registration Order of the Federal High Court; it is further

          ORDERED that Zenith Bank PLC shall incur a daily charge of $________ per day,

payable into the registry of the Court, for every day commencing from the date this Order is

signed until the date the Appointment of Receiver/Manager and Application to Set Aside

Registration Order have been withdrawn; it is further

          ORDERED that Zenith Bank PLC shall immediately cease and desist from taking any

further action against any of the Debtors in violation of the automatic stay; it is further

          ORDERED that Zenith Bank PLC shall pay to the Debtors $____________, as damages

and costs incurred directly attributable to Zenith Bank PLC’s violations of the automatic stay,

finally, it is

          ORDERED that the Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.



Dated: June ___, 2018                                 ______________________________________
                                                      UNITED STATES BANKRUPTCY JUDGE




                                                  2
